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                               UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MAINE


 In re:
                                                     Chapter 7
 Justin Wade Burgess,                                Case No. 19-20092

                              Debtor


 Justin Wade Burgess,

                              Plaintiff
   v.                                                Adv. Proc. No. 19-2014

 JPMorgan Chase Bank, N.A.,

                              Defendant



          ORDER GRANTING DEFENDANT’S MOTION TO STRIKE
 AND DENYING PLAINTIFF’S ATTEMPT TO ESTABLISH DEFENDANT’S DEFAULT

          On April 23, 2020, this Court issued an order denying the Plaintiff’s request for

reconsideration [Dkt. No. 53] (the “Order Denying Reconsideration”). The Plaintiff then filed a

notice of appeal and, in his notice, specified the Order Denying Reconsideration as the only order or

judgment being appealed. [Dkt. No. 55.]

          There are three matters presently before the Court, the first of which relates to the record on

appeal. Under the Federal Rules of Bankruptcy Procedure, an appellant is required to designate

items for inclusion in the record. See Fed. R. Bankr. P. 8009(a)(1). The appellee is also afforded

the right to designate items for inclusion. See Fed. R. Bankr. P. 8009(a)(2). The entire point of this

effort is to create a record for the appellate tribunal so that it may understand exactly what was

considered, or able to be considered, by the trial court in reaching the decision on appeal. In many
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instances, the record on appeal is created by the parties without much fuss. This proceeding has

proved an exception to that norm.

        On August 28, 2020 the Plaintiff submitted a document titled Appellant’s Amended

Designation of the Record #2 [Dkt. No. 95] (“Second Amended Designation”).1 In his Second

Amended Designation, the Plaintiff purports to strike from the appellate record all of the

Defendant’s submissions to this Court based on the Defendant’s alleged lack of “standing.” See

[Dkt. No. 95, ¶ 17]. He also attempts to add to the record documents identified as Exhibits A and B,

along with certain items from the docket of this adversary proceeding consisting of the documents

that appear at Docket Nos. 85, 86, 86-1, 88, and 89. [Dkt. No. 95, ¶ 20.] Exhibit A—titled

“Affidavit of Facts, Notice of Defendant Default, Order # 88 is Void Without Timely Requisite

Response to Cure”—appears to be an effort to introduce allegations and arguments into the appellate

record concerning the viability of this Court’s Order Denying Motion to Vacate [Dkt. No. 88],

which was issued on August 18, 2020, several months after the date of the Order Denying

Reconsideration. Exhibit B appears to show that the Plaintiff emailed the document marked as

Exhibit A to the Defendant, this Court, and the Bankruptcy Appellate Panel on or about August 24,

2020.




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     The Federal Rules of Bankruptcy Procedure provide procedures for the correction or modification of
appellate record, but do not generally contemplate serial amendments to the appellate record. See Fed. R.
Bankr. P. 8009(a) & (e). The Second Amended Designation was filed after: (1) the Plaintiff submitted an
initial designation of contents for inclusion in the record on appeal [Dkt. No. 65], which was stricken by
the Bankruptcy Appellate Panel by an order directing the Plaintiff to file a more specific, amended
designation [Dkt. No. 70]; (2) the Plaintiff filed an amended designation of the appellate record [Dkt. No.
72], which was terminated by the Clerk’s office because it was unsigned; (3) the Bankruptcy Appellate
Panel issued a conditional order of dismissal requiring the Plaintiff to submit a signed amended
designation of the record no later than August 11, 2020 [Dkt. No. 83]; (4) the Plaintiff timely filed a
signed, amended designation of the record [Dkt. No. 85]; (5) the Defendant filed an amended counter-
designation of items to be included in the record on appeal [Dkt. No. 90]; and (6) the Clerk’s office
transmitted the record on appeal to the Bankruptcy Appellate Panel [Dkt. No. 93].


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       The Defendant has moved this Court for an order striking portions of the Second Amended

Designation [Dkt. No. 98] (“Motion to Strike”). In the Motion to Strike, the Defendant specifically

asks the Court to strike the documents that appear at Docket No. 95-1, documents that the Plaintiff

marked as Exhibit A and Exhibit B. In support of this request, the Defendant asserts that those

documents have not been otherwise docketed in this adversary proceeding and are therefore not

properly designated as part of the record.

       The Plaintiff has responded with a document titled Objection to the Motion to Strike and

Plaintiff Affidavit for BAP 20-16 Support of Like Manner Writ of Mandamus for Proof of Standing

of Defendant and Lower Court. [Dkt. No. 104.] In this document, he urges that the Motion to

Strike must either be ignored or denied “for want of Defendant and lower court standing.” Id.

       After reviewing the docket of this adversary proceeding, the Court agrees that Plaintiff’s

Exhibit A and Exhibit B were not submitted to this Court prior to the entry of the Order Denying

Reconsideration. As a result, those documents could not have been considered by the Court when it

issued the order currently on appeal. The Defendant’s Motion to Strike is therefore GRANTED,

and the documents that the Plaintiff styles as Exhibit A and Exhibit B are hereby STRICKEN from

the record on appeal. This relief is granted under Fed. R. Bankr. P. 8009(e). Under that rule, this

Court is tasked with settling any differences about “whether the record accurately discloses what

occurred in the bankruptcy court” and resolving motions to strike items from the record on appeal.

Fed. R. Bankr. P. 8009(e). Despite the Plaintiff’s contentions to the contrary, the procedure

specified in Rule 8009(e) “represents an exception to the general rule that the bankruptcy court

ceases to have jurisdiction of the matter once an adversary proceeding . . . has been appealed.” 10

Collier on Bankruptcy ¶ 8009.10 (16th ed. 2020) (foot note omitted).




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        The second matter before the Court also relates to the record on appeal. On September 16,

2020, the Plaintiff filed a document titled Appellant’s Amended Counter-Designation of Items to be

Included in the Record on Appeal #3 [Dkt. No. 105] (“Third Amended Designation”). Although the

Defendant has not moved to strike any of the items included in the Plaintiff’s Third Amended

Designation, the Court concludes that the Third Amended Designation is not a proper attempt to

correct or modify the record under Rule 8009(e). The items included in the Third Amended

Designation—Dkt. Nos. 97, 101, and 102—suffer from the same defects as the items stricken from

the Second Amended Designation. They were not, and could not have been, considered by this

Court before it issued the Order Denying Reconsideration. For this reason, the items included in the

Third Amended Designation will not be transmitted to the Bankruptcy Appellate Panel as part of the

appellate record.

        The third matter presently before the Court consists of the Plaintiff’s latest attempt to

establish a “default” by the Defendant. Specifically, the Plaintiff has filed a document titled

“Judicial Notice, Certification of Defendant Default, Order #88 is Void for Want of Facts and

Authority” [Dkt. No. 101] (“Judicial Notice and Certification”). The Defendant has objected to this

attempt [Dkt. No. 108], and the Plaintiff has filed an “objection” to the Defendant’s objection [Dkt.

No. 111]. The Defendant’s arguments about the Judicial Notice and Certification are well-founded.

For the reasons set forth in the Defendant’s objection, to the extent that the Judicial Notice and

Certification contains cognizable requests for relief (and that is doubtful), all such requests are

denied with prejudice to any similar requests that may be made by the Plaintiff in the future. Should

the Plaintiff renew his efforts to establish that the Defendant is in “default” because it did not

respond to his “Reply with Affidavit of Facts to Strike,” the Court will assume that the Defendant

objects to that relief for the reasons it has already articulated. In addition, if the Plaintiff files any




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further motions, pleadings, or other documents in this case related to the Defendant, then the

Defendant need not file a response, notwithstanding the requirements of D. Me. LBR 9013-1(e). If

the Plaintiff seeks relief adverse to the Defendant, that relief will not be granted until after (a) the

Court issues an order directing the Defendant to respond; or (b) the Court holds a hearing at which

the Defendant may appear and be heard.

        Due to his pro se status, the Plaintiff has been extended significant latitude with respect to

the documents he has submitted for filing in this proceeding. Going forward, if the Plaintiff wishes

to seek relief from this Court, he will be required to file a motion requesting specific forms of relief

and identifying any authorities supporting the relief requested. Each motion “must be accompanied

by a proposed form of order.” D. Me. LBR 9013-1(c). The Plaintiff’s motions must not exceed

seven pages in length; anything in excess of that page limit will not be considered by the Court.



Date: October 6, 2020
                                                Michael A. Fagone
                                                United States Bankruptcy Judge
                                                District of Maine




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